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 1   M. BRADLEY WISHEK (SBN 121875)
     ROTHSCHILD WISHEK & SANDS LLP
 2   765 University Avenue
     Sacramento, CA 95825
 3   Telephone: (916) 444-9845
     FACSIMILE: (916) 640-0027
 4
     Attorneys for Defendant,
 5   THOMAS LU
 6                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                   Case No.: 2:12-CR-0207 TLN
10                Plaintiff,
                                                 STIPULATION AND ORDER
11        vs.                                    CONTINUING STATUS CONFERENCE
12   THOMAS LU,                                  Date:   July 9, 2015
                                                 Time:   9:30 a.m.
13              Defendant.                       Ctrm:   2 (TLN)
14
15        The United States of America, through its counsel Assistant

16   U. S. Attorneys William Wong and Michael Anderson, and defendant

17   Thomas Lu, through his counsel M. Bradley Wishek, stipulate that

18   the status conference regarding the imposition of judgment and

19   sentence upon Mr. Lu now scheduled for 9:30 a.m. on July 9,

20   2015, may be continued to September 24 2015, at 9:30 a.m.

21        A continuance of the status conference is necessary

22   because, while Mr. Lu’s case has been resolved by way of a

23   guilty plea, the other defendants in the case are moving for new

24   trials after having been convicted and information pertaining to

25   the resolution of the case against those defendants may be

26   helpful to the Court in fashioning a sentence for Mr. Lu.

27   Therefore, the parties request that the status conference

28   regarding the imposition of judgment and sentence pertaining to


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 1   Mr. Lu be continued to September 24, 2015, at 9:30 a.m.
 2        IT IS SO STIPULATED.
 3
 4   DATED:    July 6, 2015       By://s// M. Bradley Wishek for
                                                William Wong
 5                                              Assistant U.S. Attorney
 6   DATED:    July 6, 2015       By://s// M. Bradley Wishek_
                                               M. BRADLEY WISHEK,
 7                                             ROTHSCHILD WISHEK & SANDS
                                               LLP, Attorneys for
 8                                             Defendant Thomas Lu
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                    STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
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 1                                       ORDER
 2           Good cause appearing upon the stipulation of the parties,
 3   it is ordered that the status conference regarding the
 4   imposition of judgment and sentence upon Thomas Lu now scheduled
 5   for July 9, 2015, is continued to 9:30 a.m. on September 24,
 6   2015.
 7           IT IS SO ORDERED:
 8
 9   DATED: July 7, 2015
                                                 Troy L. Nunley
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                                                 United States District Judge
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                     STIPULATION AND ORDER CONTINUING STATUS CONFERENCE
